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                             UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION



RICHARD KADREY, et al.,                             Case No. 3:23-cv-03417-VC

        Individual and Representative Plaintiffs,
                                                    PLAINTIFFS’ ADMINISTRATIVE
   v.                                               MOTION TO CONSIDER WHETHER
                                                    ANOTHER PARTY’S MATERIAL
META PLATFORMS, INC.,                               SHOULD BE SEALED RE:
                                                    SUPPLEMENTAL LETTER
                                     Defendant.


                       PLAINTIFFS’ ADMIN. MTN. TO CONSIDER SEALING RE: SUPPLEMENTAL LETTER
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       Pursuant to Civil Local Rules 7-11, 79-5(f), and this Court’s Standing Order on Motions

to Seal, Plaintiffs respectfully submit this Administrative Motion to Consider Whether Another

Party’s Material Should Be Sealed, filed in connection with Plaintiffs’ Supplemental Letter. The

attachments accompanying the Supplemental Letter contain material that Defendant Meta

Platforms, Inc. (“Meta”), has designated as “Highly Confidential - Attorneys Eyes Only,” as

defined in the in the parties’ Stipulated Protective Order for Litigation Involving Patents, Highly

Sensitive Confidential Information and/or Trade Secrets (ECF No. 90, the “Protective Order”):

                             Portions to be Filed
        Document                                       Basis for Sealing Portion of Document
                                 Under Seal
                                                      Refers to material designated by Meta as
       Appendix A              Full Document          “Highly Confidential – Attorneys’ Eyes
                                                                       Only”
                                                          Designated by Meta as “Highly
        Exhibit A              Full Document
                                                        Confidential – Attorneys’ Eyes Only”
                                                          Designated by Meta as “Highly
        Exhibit B              Full Document
                                                        Confidential – Attorneys’ Eyes Only”
                                                          Designated by Meta as “Highly
        Exhibit C              Full Document
                                                        Confidential – Attorneys’ Eyes Only”
                                                          Designated by Meta as “Highly
        Exhibit D              Full Document
                                                        Confidential – Attorneys’ Eyes Only”
                                                          Designated by Meta as “Highly
        Exhibit E              Full Document
                                                        Confidential – Attorneys’ Eyes Only”
                                                          Designated by Meta as “Highly
        Exhibit F              Full Document
                                                        Confidential – Attorneys’ Eyes Only”
                                                          Designated by Meta as “Highly
        Exhibit G              Full Document
                                                        Confidential – Attorneys’ Eyes Only”

       Because Meta chronically over-designated much of the record in this case, including

designating the deposition transcripts of every Meta witness as “Highly Confidential—Attorneys’

Eyes Only” in their entirety, Plaintiffs must provisionally file the above-referenced documents

under seal even though Plaintiffs do not believe they contain material that warrants sealing.




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                                             Dated: February 6, 2025

                                             By: /s/ Maxwell V. Pritt
                                                     Maxwell V. Pritt

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